Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 1 of 62




            EXHIBIT A
               Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 2 of 62



  1   William F. Auther (Bar No. 014317)
      MacKenzie L. Deal (Bar No. 028411)
 2    BOWMAN AND BROOKE LLP
      Suite 1600, Phoenix Plaza
 3    2901 North Central Avenue
      Phoenix, Arizona 85012
 4    (602) 643-2300

 5    Attorneys for Defendant
      Toyota Motor Sales, U.S.A., Inc.
 6

 7                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8                           IN AND FOR THE COUNTY OF COCONINO
 9
      PATRICIA NANCE, as an individual and as
10    the surviving spouse of decedent KEVIN LEE
      NANCE, and for and on behalf of all statutorily    No. CV2012-00609
11    authorized wrongful death claimants including
      KARLTON NANCE and KALEI NANCE,
12    surviving children of decedent Kevin Lee           DEFENDANT TOYOTA MOTOR
      Nance and KATIE LEE NANCE, surviving               SALES, U.S.A., INC.’S NOTICE OF
13    parent of decedent Kevin Lee Nance,                FILING NOTICE OF REMOVAL OF
                                                         ACTION
14                                Plaintiffs,
15    vs.
16    TOYOTA MOTOR SALES, U.S.A., INC., a
      foreign corporation; TOYOTA MOTOR
17    CORPORATION; TOYOTA MOTOR
      ENGINEERING & MANUFACTURING
18    NORTH AMERICA, INC.; TAKATA
      CORPORATION, INC.; TAKATA, INC.; TK
19    HOLDINGS; TK HOLDINGS, INC.; TAKATA
      RESTRAINT SYSTEMS, INC.; TAKATA
20    SEATBELTS, INC.; TOKAI RIKA CO., LTD.;
      SOUTH COAST TOYOTA; JOHN DOES 1-10;
21    JANE DOES 1-10; ABC CORPORATIONS 1-
      10; XYZ COMPANIES 1-10, inclusive,
22
                                Defendants.
23

24

25            PLEASE TAKE NOTICE that Defendant Toyota Motor Sales, U.S.A., Inc. ("TMS")

26 has filed a Notice of Removal of Action in the Office of the Clerk of the United States

27 District Court of Arizona. A copy of the Notice (without exhibits) is attached hereto as
28    Exhibit "A".
                Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 3 of 62



 1
               DATED this 14th day of January, 2013.
 2
                                                        BOWMAN AND BROOKE LLP
 3

 4
                                                        By:
 5                                                            William F. Auther
                                                              MacKenzie L. Deal
 6                                                            Suite 1600, Phoenix Plaza
                                                              2901 North Central Avenue
 7                                                            Phoenix, Arizona 85012
                                                              Attorneys for Defendant
 E;]                                                          Toyota Motor Sales, U.S.A., Inc.

 9     ORIGINAL of the foregoing mailed
       For filing this 14th day of January, 2013, to:
10
       Clerk of the Superior Court
11     Coconino County Superior Court
       200 N. San Francisco Street
12     Flagstaff, AZ 86001
13
       and a COPY of the foregoing delivered via
14     mail this same date to:
15     The Honorable Jacqueline Hatch
       Coconino County Superior Court
16     200 N. San Francisco St.
       Flagstaff, AZ 86001
17

18     COPY of the foregoing mailed
       this 14th day of January, 2013, to:
19
       Bryn R. Johnson
20     THE MCKAY JOHNSON FIRM, PLC
       1019 S. Stapley Drive
21     Mesa, Arizona 85204
       Attorneys for Plaintiffs
22

23

24
        /
25

26

27

28
Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 4 of 62




             EXHIBIT B
                    Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 5 of 62
 In the Superior Court of the State of Arizona
 In and For the County of Coconino

 Case Number      C        c              OO

            CIVIL COVER SHEET
                NEW FILING ONLY

                  (Please Type or Print)

Plaintiffs Attorney        rti       ’.          Oy

Attorney Bar Number        0014 I
Plaintiffs Name(s): (List all)                                         Plaintiffs Address:
  CAT F%Ci/\ tJAtJC-                                                        /0    P P"
                                                                                   )          .
     fl1-icj        N/kJC.                                                       10 6) S .        TP?L..E..i Di.
    p-e
(List additional plaintiffs on page two and/or attach a separate sheet).

Defendant’s Name(s): (List All)                                       19M 9sie-,QN                     AVE.
 Toioi. MKIfi                     UcAJNC,                             iO.RkNC             CA ’15CI
(List additional defendants on page two and/or attach a separate sheet)

EMERGENCY ORDER SOUGHT:          El Temporary Restraining Order                           Provisional Remedy        F1 OSC
SElection Challenge F1 Employer Sanction          Other
                                                                    (Specify)
    RULE 8(i) COMPLEX LITIGATION DOES NOT APPLY. (Mark appropriate box under                        Nature of Action)

    RULE 8(i) COMPLEX LITIGATION APPLIES. Rule 8(i) of the Rules of Civil Procedure defines a "Complex Case"
as civil actions that require continuous judicial management. A typical case involves a large number of witnesses, a
substantial amount of documentary evidence, and a large number of separately represented parties.
(Mark appropriate box on page two as to complexity, in addition to the Nature of Action case category).

                                                   NATURE OF ACTION
          (Place an "X" next to the one case category that most accurately describes your primary case.)

TORT MOTOR VEHICLE:                                                   EliPremises Liability
   Non-Death/Personal Injury                                              Slander/Libel/Defamation
   Property Damage                                                    LiOther (Specify)
   ..Wrongful Death                                                   MEDICAL MALPRACTICE:
TORT NON-MOTOR VEHICLE:                                               IliPhysician M.D.         LiHospital
LIlNegl igence                                                        [IPhysician D.O           LiOther
LiProduct Liability - Asbestos                                        CONTRACTS:
EliProduct Liability - Tobacco                                        ililAccount (Open or Stated)
LiProduct Liability - Toxic/Other                                     [IPromissory Note
Lillntentional Tort                                                   [I Foreclosure
   Property Damage                                                    [IBuyer -Plaintiff
LiLegal Malpractice                                                   LjFraud
LiMaipractice - Other professional                                    [IOther Contract (i.e. Breach of Contract)

November 21, 2008
                    Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 6 of 62
 CONTRACTS continued:                                       LiiTax Appeal
    Excess Proceeds-Sale                                    (All other tax matters must be filed in the AZ Tax Court)
    Construction Defects (Residential/Commercial)              Declaratory Judgment
              Six to Nineteen Structures                       Habeas Corpus
             Twenty or More Structures                      LiLandlord Tenant Dispute- Other
OTHER CIVIL CASE TYPES:                                     LiRestoration of Civil Rights (Federal)
    Eminent Domain/Condemnation                             LllClearance of Records (A.R.S. §13-4051)
    Forcible Detainer                                       LiDeclaration of Factual Innocence (A.R.S. §12-771)
    Change of Name                                             Declaration of Factual Improper Party Status
    Transcript of Judgment                                  LiVulnerable Adult (A.R.S. §46-451)
    Foreign Judgment                                        LilTribal Judgment
LIQuiet Title                                                  Structured Settlement (A.R. S. §12-2901)
    Forfeiture                                              LiAttorney Conservatorships (State Bar)
[ ]Election Challenge                                       LijiUnauthorized Practice of Law (State Bar)
LNCC- Employer Sanction Action (A.R.S. §23-212)             LilOut-of-State Deposition for Foreign Jurisdiction
    Inj unction against Workplace Harassment                   Secure Attendance of Prisoner
    Injunction against Harassment                              Assurance of Discontinuance
[II]Civil Penalty                                           []In - State Deposition for Foreign Jurisdiction
F-] Water Rights(Not General Stream Adjudication)           LiEminent Domain Light Rail Only
LiReal Property                                             Lilnterpleader Automobile Only
LilSexually Violent Person (A.R.S. §36-3704)                LiDelayed Birth Certificate (A.R.S. §36-333.03)
LiMinor Abortion                                            LiEmployment Dispute- Discrimination
LI] Special Action Against Lower Courts                     LiEmployment Dispute-Other
UNCLASSIFIED CIVIL:                                         LulOther
LiAdministrative Review                                                      (Specify)


                                       COMPLEXITY OF THE CASE

If you marked the box on page one indicating that Complex Litigation applies, place an "X" in the box of no
less than one of the following:

LulAntitrust/Trade Regulation
Li Construction Defect with many parties or structures
LiMass Tort
Li Securities Litigation with many parties
LI Environmental Toxic Tort with many parties
LiClass Action Claims
LI Insurance Coverage Claims arising from the above-listed case types
LIA Complex Case as defined by Rule 8(i) ARCP

Additional Plaintiff(s)
 kATie L_-iE-& tj




Additional Defendant(s)
                                                                     C)                                    C,




November 21, 2008
                                Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 7 of 62
      Attorney or Party without Attorney:                                                                                             For Court Use Only
       BRYN R. JOHN SON, ESQ., Bar #007421
       THE MCKAY JOHNSON FIRM, PLC
       1019 SOUTH STAPLEY DRIVE                                                                                                 Li
       MESA, AZ 85204
      Telephone No 480-833-1667      FAX No 480-833-2175
                                                                                 Ref No. or File No.:
      Attorney for:    Plaintiff
      Insert name     of Court, and Judicial District and Branch Court:                                                           -
       In The Superior Court Of The State Of Arizona In And For The County Of Coconino
      Plaintiff: PATRICIA NANCE
      Defendant: TOYOTA MOTOR SALES, USA, INC.
          PROOF OF SERVICE                                   Hearing Date:               Time.          Dept/Div:       Case Number:
        SUMMONS & COMPLAINT                                                                                              CV2012-00609                               -
     1. At the time of service I was at least 18 years of age and not aparly to this action.

     2. I served copies of the SUMMONS; FIRST AMENDED COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION.

     3. a. Party served:                                                  TAKATA SEATBELTS, INC.
        b. Person served:                                                 PAUL MATTHEWS, PRENTICE-HALL CORPORATION SYSTEM, INC.,
                                                                          REGISTERED AGENT.

     4. Address where the party was served:                               2711 Centerville Road
                                                                          Suite 400
                                                                          WILMINGTON, DE 19808
     5. Iserved the party:
        a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
           process for the party (1) on: Fri., Dec. 21,2012(2) at: 3:45PM

     7. Person Who Served Papers:                                                                         Recoverable Cost Per CCP 1033.5(a)(4)(B)
         a. FRANK JOYCE                                                               d. The Feefor Service was:         5120.00




        Go
                                  301 Civic Center Drive West                         e. I am: Not a Registered California Process Server
                                  Santa Ana, CA 92701
                                  Telephone      (714)541-1110
                                  Fax            (714)541-8182
                                  www.flrstlegalnetwork.com




     8. I declare under penally ofper]ury under the laws of the Slate of California that the foregoing is true and correct.
0
w        Dale: Wed, fat,. 02, 2013
Z
Z             Judicial Council Form                                         PROOF OF SERVICE
     Rule 2.150.(a)&(b) Rev January 1, 2007                               SUMMONS & COMPLAINT                                             9548689:kc.bryjo.500161
0
W,
                Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 8 of 62



       Bryn R. Johnson, Bar No. 007421
       THE McKAY JOHNSON FIRM, PLC
       1019 S. Stapley Drive
       Mesa, Arizona 85204
       Telephone: (480) 833-1667
       Facsimile: (480) 833-2175
       BrynAccidentLawAZ.com

      Attorneys for Plaintiffs



                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                         IN AND FOR THE COUNTY OF COCONINO

 10
      PATRICIA NANCE, as an individual and as )       No. CV2012-00609
      the surviving spouse of decedent KEVIN      )
 11
      LEE NANCE, and for and on behalf of         )
12    all statutorily authorized wrongful death   )
      claimants including KARLTON NANCE and)
13    KALEI NANCE, surviving children of          )   SUMMONS
      decedent Kevin Lee Nance and KATIE          )
14    LEE NANCE, surviving parent of decedent )
      Kevin Lee Nance,                            )
15                                    Plaintiffs, )
      vs.                                         )   (Civil, Product Liability,
16
                                                  )
                                                      Negligence, Breach of Warranty)
      TOYOTA MOTOR SALES, USA, INC., )
17
      a foreign corporation; TOYOTA MOTOR )
18    CORPORATION; TOYOTA MOTOR )
      ENGINEERING & MANUFACTURING )
19    NORTH AMERICA, INC., TAKATA )
      CORPORATION, INC.; TAKATA, INC.; )
20    1K HOLDINGS; TK HOLDINGS, INC. )
      TAKATA RESTRAINT SYSTEMS, INC.; )
21    TAKATA SEATBELTS, INC.; TOKAI        )
      RIKA CO., LTD.; SOUTH COAST          )
22    TOYOTA; JOHN DOES 1-10; JANE DOES)
      1-10; ABC CORPORATIONS 1-10; XYZ )
23
      COMPANIES 1-10, inclusive,           )
24                                               )


                                 Defendants      )
25
      /1/
                Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 9 of 62



             THE STATE OF ARIZONA TO DEFENDANTS:

 2                                       TAKATA SEAT BELTS INC.
                                do   The Prentice-Hall Corporation System, Inc.
 3
                                         2711 Centerville Rd., Ste. 400
                                            Wilmington, DE 19808
 4

             YOU ARE HEREBY SUMMONED and required to appear and defend, within the
 5

     time applicable, in this action in this Court. If served within Arizona, you shall appear and
 6

     defend within 20 days after the service of the Summons and Complaint upon you, exclusive of
 7

     the day of service. If served out of the State of Arizona -- whether by direct service, by
 8

     registered or certified mail, or by publication -- you shall appear and defend within 30 days
 9

     after the service of the Summons and Complaint upon you is complete, exclusive of the day of
10

     service. Where process is served upon the Arizona Director of Insurance as an insurers
11

     attorney to receive service of legal process against it in this State, the insurer shall not be
12

     required to appear, answer or plead until expiration of 40 days after date of such service upon
13

     the Director. Service by registered or certified mail without the State of Arizona is complete 30
14

     days after the date of filing the receipt and affidavit of service with the Court. Service by
15

     publication is complete 30 days after the date of first publication. Direct service is complete
16

     when made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after
17

     filing the Affidavit of Compliance and return receipt or Officer’s Return. RCP 4;         ARS "20-
18

     222, 28-502, 28-503.
19

             YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
20

     within the time applicable, judgment by default may be rendered against you for the relief
21

     demanded in the Complaint.
22

             YOU ARE CAUTIONED that in order to appear and defend, you must file an Answer
23
     or proper response in writing with the Clerk of this Court, accompanied by the necessary filing
     fee, within the time required, and you are required to serve a copy of any Answer or response
24   upon the Plaintiffs attorney. RCP 10(d); ARS’ 12-311; RCP 5.
25




                                                         2
             Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 10 of 62



           The name and address and telephone number of Plaintiffs attorney is:
 2                       Bryn R. Johnson, Esq.
                         THE McKAY JOHNSON FIRM, PLC
 3
                         1019 S. Stapley Dr.
                         Mesa, Arizona 85204
 4
                         (480) 833-1667 phone
 5
           Requests for reasonable accommodations for persons with disabilities must be
 6
     made to the Court by parties at least three working days in advance of a scheduled court
     proceeding.
 7

 8
           SIGNED AND SEALED this date:                                     1
                                                                                YOUNG
 9                                              CLERK OF THE COURT
10

11
                                        By                              ~r
                                                                        X
                                                                        -


12
                                                D6uty Clerk

13

14

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                                                  3
                             Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 11 of 62
     Attorney or Pam without Attorney:                                                                                             For Court Use On/v
      BRYN R. JOHNSON, ESQ., Bar #007421
      THE MCKAY JOHNSON FIRM, rAX
      1019 SOUTH STAPLEY DRIVE
      MESA, AZ 85204
     Telephone No: 480-833-1667    FAXNo: 480-833-2175
                                                                                 Ref No. or File No.:
     Attorney for:   Plaintiff
     Insert name of Court, and Judicial District and Branch Court:
      In The Superior Court Of The State Of Arizona In And For The County Of Coconino
              PATRICIA NANCE
     Plaintiff.
     Defendant: TOYOTA MOTOR SALES. USA, INC.
         PROOF OF SERVICE
       SUMMONS & COMPLAINT                             I   Hearing Dale:                 Time:


     1. At the time of service I was at least 18 years of age and not a party to this action.
                                                                                                        Dept/Div:       Case Number:
                                                                                                                         CV2012-00609


 2. I served copies of the SUMMONS; FIRST AMENDED COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION.

 3. a. Party served:                                                  TAKATA RESTRAINT SYSTEMS, INC.
    b. Person served:                                                 PAUL MATTHEWS, PRENTICE-HALL CORPORATION SYSTEM, INC.,
                                                                      REGISTERED AGENT.

 4. Address where the party was served:                               2711 Centerville Road
                                                                      Suite 400
                                                                      WILMINGTON, DE 19808
 5. 1 served the party:
    a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
       process for the party (I) on: Wed., Dec. 26, 2012 (2) at: 11:06AM

 7. Person Who Served Papers:                                                                             Recoverable Cost Per CCP 1033.5(a)(4)(B)
     a. FRANK JOYCE                                                                   d. The Fee for Service was:        $457.50




        e            I
                                 301 Civic Center Drive West
                                 Santa Ana, CA 92701
                                 Telephone
                                 Fax
                                                (714) 541-1110
                                                (714)541-8182
                                 www.firstlegalnetwork.com
                                                                                      e. I am: Not a Registered California Process Server




 8. 1 declare under penally ofperjury under the laws                  of the State of California that the foregoing is true and correct.
LL      Date: Wed, Jan. 02, 2013                                                                             Cm


              Judicial Council Form                                          PROOF OF SERVICE
      ule 2.150.(a)&(b) Rev January 1, 2007                                SUMMONS & COMPLAINT                                                          93


CO
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 12 of 62



         Bryn R. Johnson, Bar No. 007421
         THE McKAY JOHNSON FIRM, PLC
     7
         1019 S. Stapley Drive
         Mesa, Arizona 85204
     3
         Telephone: (480) 833-1667
     4
         Facsimile: (480) 833-2175
         Bryn@AccidentLawAZ. corn
     5
         Attorneys for Plaintiffs
 6

 7
                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8

                            IN AND FOR THE COUNTY OF COCONINO
 9

10
         PATRICIA NANCE, as an individual and as )       No. CV2012-00609
11
         the surviving spouse of decedent KEVIN      )
         LEE NANCE, and for and on behalf of         )
12       all statutorily authorized wrongful death   )
         claimants including KARLTON NANCE and)
13       KALEI NANCE, surviving children of          )   SUMMONS
         decedent Kevin Lee Nance and KATIE          )
14       LEE NANCE, surviving parent of decedent )
         Kevin Lee Nance,                            )
15                                       Plaintiffs, )
         vs.                                         )   (Civil, Product Liability,
16
                                                     )
                                                         Negligence, Breach of Warranty)
         TOYOTA MOTOR SALES, USA, INC., )
17
         a foreign corporation; TOYOTA MOTOR )
18       CORPORATION; TOYOTA MOTOR )
         ENGINEERING & MANUFACTURING )
19       NORTH AMERICA, INC., TAKATA )
         CORPORATION, INC.; TAKATA, INC.; )
20       TK HOLDINGS; TK HOLDINGS, INC. )
         TAKATA RESTRAINT SYSTEMS. INC.; )
21       TAKATA SEATBELTS, INC.; TOKAT        )
         RIKA CO., LTD.; SOUTH COAST          )
22
         TOYOTA; JOHN DOES 1-10; JANE DOES)
         1-10; ABC CORPORATIONS 1-10; XYZ )
23
         COMPANIES 1-10, inclusive,           )
24                                                   )


                                     Defendants      )
25
         ///
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 13 of 62



     I           THE STATE OF ARIZONA TO DEFENDANTS:

                                      TAKATA RESTRAINT SYSTEMS INC.
                                        do The Corporation Trust Company
     3
                                                 1209 Orange St.
                                             Wilmington, DE 19801
 4

                 YOU ARE HEREBY SUMMONED and required to appear and defend, within the
 5

 6
         time applicable, in this action in this Court. If served within Arizona, you shall appear and

         defend within 20 days after the service of the Summons and Complaint upon you, exclusive of
 7

 8
         the day of service. If served out of the State of Arizona -- whether by direct service, by

         registered or certified mail, or by publication -- you shall appear and defend within 30 days
 9

10
         after the service of the Summons and Complaint upon you is complete, exclusive of the day of

         service. Where process is served upon the Arizona Director of Insurance as an i         nsurers
11

12
         attorney to receive service of legal process against it in this State, the insurer shall not be

         required to appear, answer or plead until expiration of 40 days after date of such service upon
13

14
         the Director. Service by registered or certified mail without the State of Arizona is complete 30

15
         days after the date of filing the receipt and affidavit of service with the Court. Service by

         publication is complete 30 days after the date of first publication. Direct service is complete
16

         when made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after
17

         filing the Affidavit of Compliance and return receipt or Officer’s Re-turn. RCP 4;        ARS "20-
18
         222, 28-502, 28-503.
19
                 YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
20

         within the time applicable, judgment by default may be rendered against you for the relief
21
         demanded in the Complaint.
22
                 YOU ARE CAUTIONED that in order to appear and defend, you must file an Answer
23
         or proper response in writing with the Clerk of this Court, accompanied by the necessary filing
         fee, within the time required, and you are required to serve a copy of any Answer or response
24       upon the Plaintiffs attorney. RCP 10(d); ARS’12-311; RCP 5.
25




                                                             2
               Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 14 of 62



              The name and address and telephone number of Plaintiffs’ attorney is:
 2                           Bryn R. Johnson, Esq.
                             THE McKAY JOHNSON FIRM, PLC
 3
                             1019 S. Stapley Dr.
                             Mesa, Arizona 85204
 4
                             (480) 833-1667 phone
 5
             Requests for reasonable accommodations for persons with disabilities must be
 6
       made to the Court by parties at least three working days in advance of a scheduled court
       proceeding.
 7
             SIGNED AND SEALED this date:
 8                                                               /
                                                                        DEEORAH YOUNG
 9                                                 CLERK OF THE COURT
10

11
                                            By:
12                                                 1Iity Clerk

13

14

15

16

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20

21

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23

24

25 I




                                                      3
                        Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 15 of 62

 Attorney or Party without Attorney:                                                                                       For Court Use Only
  BRYN R. JOHNSON, ESQ., Bar #007421
  THE MCKAY JOHNSON FIRM, PLC
  1019 SOUTH STAPLEY DRIVE
  MESA, AZ 85204
 Telephone No: 480-833-1667     FAX No: 480-833-2175
                                                                         Ref No. or File No.:
Attorney for:   Plaintiff
 Insert name of Court, and Judicial District and Branch Court:
 In The Superior Court Of The State Of Arizona in And For The County Of Coconino
         PATRICIA NANCE
Plaintiff:
Defendant: TOYOTA MOTOR SALES, USA, INC.
     PROOF OF SERVICE
   SUMMONS & COMPLAINT                             I   Hearing Date:             Time:


1. At the time of service I was at least 18 years of age and not a party to this action.
                                                                                                Dept/Div:        Case Number:
                                                                                                                  CV2012-00609


2. I served copies of the SUMMONS; FIRST AMENDED COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION.

3. a. Party served:                                               TK HOLDINGS
   b. Person served:                                              PAUL MATTHEWS, PRENTICE-HALL CORPORATION SYSTEM, INC.,
                                                                  REGISTERED AGENT.

4. Address where the party was served:                            2711 Centervill Road
                                                                  Suite 400
                                                                  WILMINGTON, DE 19808
5. ]served the party:
   a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Fri., Dec. 21, 2012 (2) at: 3:45PM

7. Person Who Served Papers:                                                                      Recoverable Cost Per CCP 1033.5(a)(4)(B)
    a. FRANK JOYCE                                                            d. The Fee for Service was: $232.50

                          301 Civic Center Drive West                         e. I am: Not a Registered California Process Server
         First
           r__7        i Santa Ana, CA 92701
                          Telephone      (714) 541-1110
                I         Fax            (714) 541-8182
                          www.firstlegalnetwork.com




8. 1 declare under penalty ofperjurj’ under the laws of the State of California that the foregoing is true and correct.
    Date: Wed, Jan. 02, 2013

        ,Judicial Council Form
Rule 2.150.(a)&(b) Rev January 1,2007
                                                                     PROOF OF SERVICE
                                                                   SUMMONS & COMPLAINT
                                                                                                            Al   (FIt&r’K JOVC4
                                                                                                                                    8688 kc biyjo 500155
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 16 of 62



          Bryn R. Johnson, Bar No. 007421
          THE McKAY JOHNSON FIRM, PLC
     2    1019 S. Stapley Drive
         ’Mesa, Arizona 85204
     3
          Telephone: (480) 833-1667
     4
          Facsimile: (480) 833-2175
          Bryn@AccidentLawAZ. corn
     S
         Attorneys for Plaint ffs
     6

     7                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     8
                           IN AND FOR THE COUNTY OF COCONINO
  9
         PATRICIA NANCE, as an individual and as )       No. CV2012-00609
 10
         the surviving spouse of decedent KEVIN      )
         LEE NANCE, and for and on behalf of         )
11
         all statutorily authorized wrongful death   )
12       claimants including KARLTON NANCE and)
         KALEI NANCE, surviving children of          )   SUMMONS
13       decedent Kevin Lee Nance and KATIE          )
         LEE NANCE, surviving parent of decedent )
14       Kevin Lee Nance,                            )
                                         Plaintiffs, )
15       vs.                                             (Civil, Product Liability,
                                                     )
                                                     )
                                                         Negligence, Breach of Warranty)
16
         TOYOTA MOTOR SALES, USA, INC., )
         a foreign corporation; TOYOTA MOTOR )
17
         CORPORATION; TOYOTA MOTOR )
18       ENGINEERING & MANUFACTURING )
         NORTH AMERICA, INC., TAKATA )
19       CORPORATION, INC.; TAKATA, INC.; )
         TK HOLDINGS; TK HOLDINGS, INC. )
20       TAKATA RESTRAINT SYSTEMS, INC.; )
         TAKATA SEATBELTS, INC.; TOKAI       )
21       RIKA CO., LTD.; SOUTH COAST         )
         TOYOTA; JOHN DOES 1-10; JANE DOES)
77
         1-10; ABC CORPORATIONS 1-10; XYZ )
         COMPANIES 1-10, inclusive,          )
23
                                                    )




24                                  Defendants      )

25       I/I
                   Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 17 of 62



                  THE STATE OF ARIZONA TO DEFENDANTS:
     2                                          TK HOLDINGS INC.
                                            do Corporation Service Company
 3
                                             2711 Centerville Rd., Ste. 400
                                                Wilmington, DE 19808
 4

                  YOU ARE HEREBY SUMMONED and required to appear and defend, within the

 6
          time applicable, in this action in this Court. If served within Arizona, you shall appear and

 7
          defend within 20 days after the service of the Summons and Complaint upon you, exclusive of

          the day of service. If served out of the State of Arizona -- whether by direct service, by
 8

          registered or certified mail, or by publication -- you shall appear and defend within 30 days
 9

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          after the service of the Summons and Complaint upon you is complete, exclusive of the day of

11
          service. Where process is served upon the Arizona Director of Insurance as an insurers

12
          attorney to receive service of legal process against it in this State, the insurer shall not be

          required to appear, answer or plead until expiration of 40 days after date of such service upon
13

14
          the Director. Service by registered or certified mail without the State of Arizona is complete 30

          days after the date of filing the receipt and affidavit of service with the Court. Service by
15

          publication is complete 30 days after the date of first publication. Direct service is complete
16

          when made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after
17

          filing the Affidavit of Compliance and return receipt or     Officers Return. RCP 4; ARS "20-
18

19       I 222, 28-502,   28-503.

                 YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
20
         within the time applicable, judgment by default may be rendered against you for the relief
21

77
         demanded in the Complaint.

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23
         or proper response in writing with the Clerk of this Court, accompanied by the necessary filing
         fee, within the time required, and you are required to serve a copy of any Answer or response
24       upon the Plaintiffs attorney. RCP 10(d); ARS’ 12-311; RCP 5.
25       7/I



                                                              2
             Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 18 of 62



            The name and address and telephone number of Plaintiffs attorney is:

                          Bryn R. Johnson, Esq.
                          THE McKAY JOHNSON FIRM, PLC
 3                        1019 S. Stapley Dr.
                          Mesa, Arizona 85204
 4                        (480) 833-1667 phone

            Requests for reasonable accommodations for persons with disabilities must be
     made to the Court by parties at least three working days in advance of a scheduled court
 6
     proceeding.
 7
            SIGNED AND SEALED this date:
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                                 Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 19 of 62

      Attorney    Or   Party without Attorney;                                                                                      For Court Use Only
       BRYN R. JOHNSON, ESQ., Bar #007421
       THE MCKAY JOHNSON FIRM, PLC
       1019 SOUTH STAPLEY DRIVE
       MESA, AZ 85204
      Telephone No: 480- 833- 1667   FAA/so 480- 833- 2175
                                                                                 Ref No. or File No.;
     Attorney for:      Plaintiff
     Insert name of Court. and Judicial District and Branch Court;
      In The Superior Court Of The State Of Arizona In And For The County Of Coconino
              PATRICIA NANCE
     Plaintiff.
     Defendant; TOYOTA MOTOR SALES, USA, INC.
         PROOF OF SERVICE
       SUMMONS & COMPLAINT
                                                        I   Hearing Dote;                Time:          Dept/Div;        Case Number.
                                                                                                                          CV2012-00609
     1. At the time of service [was at least 18 years of age and not aparly to this action.

     2. 1 served copies of the SUMMONS; FIRST AMENDED COMPLAINT; CERTIFICATE OF COMPULSORY ARBITRATION.

     3. a. Party served:                                               TAKATA, INC.
        b. Person served:                                              PAUL MATTHEWS, PRENTICE-HALL CORPORATION SYSTEM, INC.,
                                                                       REGISTERED AGENT.

     4. Address where the party was served:                            2711 Centerville
                                                                       Suite 400
                                                                       WILMINGTON, DE 19808
     5. 1 served the party:
        a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
           process for the party (1) on: Fri., Dec. 21, 2012 (2) at: 3:45PM

     7. Person Who Served Papers:                                                                         Recoverable Cost Per CCP 1033.5(a)(4)(B)
         a. FRANK JOYCE                                                               d. The Fee for Service was:         $232.50

                                    301 Civic Center Drive West                       e. 1 am: Not a Registered California Process Server
                                    SantÆAna, CA 92701
                                    Telephone      (714) 541-1110
                         a          Fax            (714)541-8182
                                    wwwfirstlegalnetwork.com




       I declare under penalty ofperjury under the laws                of the State of California that the foregoing is true and correct.
Z       Date: Wed, Jan. 02, 2013                                                                               (7
C,            Judicial Council Form
      ule 2.150.(a)&(b) Rev January 1, 2007
                                                                          PROOF OF SERVICE
                                                                        SUMMONS & COMPLAINT
                                                                                                                        (}RAINK JOY &.
                                                                                                                                           48685;kc.bjo500163
                 Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 20 of 62



         Bryn R. Johnson, Bar No. 007421
         THE McKAY JOHNSON FIRM, PLC
     7
         1019 S. Stapley Drive
         Mesa, Arizona 85204
     3
         Telephone: (480) 833-1667
     4
         Facsimile: (480) 833-2175
         Bryn(a)AccidentLawAZ.com
     5
         Attorneys for Plaint ¶s
     6

     7
                     IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     8
                           IN AND FOR THE COUNTY OF COCONINO
  9

 10
         PATRICIA NANCE, as an individual and as )       No. CV2012-00609
 11
         the surviving spouse of decedent KEVIN      )
         LEE NANCE, and for and on behalf of         )
 12      all statutorily authorized wrongful death   )
         claimants including KARLTON NANCE and)
13       KALEI NANCE, surviving children of          )   SUMMONS
         decedent Kevin Lee Nance and KATIE          )
14       LEE NANCE, surviving parent of decedent )
         Kevin Lee Nance,                            )
15                                       Plaintiffs, )
         vs.                                         )   (Civil, Product Liability,
16
                                                     )
                                                         Negligence, Breach of Warranty)
         TOYOTA MOTOR SALES, USA, INC., )
17
         a foreign corporation; TOYOTA MOTOR )
18       CORPORATION; TOYOTA MOTOR )
         ENGINEERING & MANUFACTURING )
19       NORTH AMERICA, INC., TAKATA )
         CORPORATION, INC.; TAKATA, INC.; )
20       TK HOLDINGS; TK HOLDINGS, INC. )
         TAKATA RESTRAINT SYSTEMS, INC.; )
21       TAKATA SEATBELTS, INC.; TOKAI       )
         RIKA CO., LTD.; SOUTH COAST         )
22       TOYOTA; JOHN DOES 1-10; JANE DOES)
         1-10; ABC CORPORATIONS 1-10; XYZ )
23
         COMPANIES 1-10, inclusive,          )
24                                                  )


                                    Defendants      )
25
         ///
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 21 of 62



                 THE STATE OF ARIZONA TO DEFENDANTS:
     2                                               TAKATA INC.
                                    do   The Prentice-Hall Corporation System, Inc.
                                             2711 Centerville Rd., Ste. 400
                                                 Wilmington, DE 19808
 4

                 YOU ARE HEREBY SUMMONED and required to appear and defend, within the
     5

         time applicable, in this action in this Court. If served within Arizona, you shall appear and
 6

 7
         defend within 20 days after the service of the Summons and Complaint upon you, exclusive of

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         the day of service. If served out of the State of Arizona-- whether by direct service, by

         registered or certified mail, or by publication -- you shall appear and defend within 30 days
 9

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         after the service of the Summons and Complaint upon you is complete, exclusive of the day of

         service. Where process is served upon the Arizona Director of Insurance as an i         nsurers
II

12
         attorney to receive service of legal process against it in this State, the insurer shall not he

13
         required to appear, answer or plead until expiration of 40 days after date of such service upon

         the Director. Service by registered or certified mail without the State of Arizona is complete 30
14

         days after the date of filing the receipt and affidavit of service with the Court. Service by
15

16
         publication is complete 30 days after the date of first publication. Direct service is complete

17
         when made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after

         filing the Affidavit of Compliance and return receipt or     Officers Return. RCP 4; ARS " 20-
18

         222, 28-502, 28-503.
19

                 YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
20

         within the time applicable, judgment by default may be rendered against you for the relief
21

         demanded in the Complaint.

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         or proper response in writing with the Clerk of this Court, accompanied by the necessary filing
         fee, within the time required, and you are required to serve a copy of any Answer or response
24       upon the Plaintiffs attorney. RCP 10(d); ARS’12-311; RCP 5.
25
                 Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 22 of 62



                The name and address and telephone number of Plaintiffs’ attorney is:
     2                         Bryn R. Johnson, Esq.
                               THE McKAY JOHNSON FIRM, PLC
                               1019 S. Stapley Dr.
                               Mesa, Arizona 85204
     4
                               (480) 833-1667 phone
     5
                Requests for reasonable accommodations for persons with disabilities must be
  6      made to the Court by parties at least three working days in advance of a scheduled court
         proceeding.
  7
                SIGNED AND SEALED this date:            -              /         t!
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                                                                           DEE(JR YOUNG
  9                                                  CLERK OF THE COURT
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                                              IN
 12                                                          Clerk

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             Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 23 of 62



BRYN R. JOHNSON, PLC
1019 S. Stapley
Mesa, AZ 85204                                                                                            cJ \ 9
                       IN THE SUPERIOR COURT OF THE STATE OF ARIZONA                                                LD
                             IN AND FOR THE COUNTY OF COCONINO

PATRICIA NANCE,
                                                                     NO. CV2012-00609
                              Plaintiffs,
vs.                                                        )         CERTIFICATE OF SERVICE BY
                                                                     A PRIVATE PROCESS SERVER
TOYOTA MOTOR SALES USA, ET AL.,
                                                           )


                             Defendants.)

         Rick Schattenberg, being fully qualified under ARCP 4(e) to serve process within the State of Arizona and having
been so appointed by Maricopa County Superior Court, did receive the following documents:

                      Summons, First Amended Complaint, Certificate of Arbitration

          In each instance I personally served a true copy of each document listed above on those named below in the manner,
and at the time and place shown below.


      Service was made upon Toyota Motor Sales USA Inc. C/o CT Corp., by leaving documents
with Molly Martinez, who was authorized to accept, at 2390 E Camelback, Phoenix AZ on
December 14, 2012, at 12:25p.m.

DATED:       / )-- !p--’2._-
                                                                    RICK SICHATTENBERG

         I declare under penalty of perjury that the foregoing is true and correct and was executed on this date.

Charge: $ 16.00 1 x 16.00
           10.00 doc. prep.
        $ 26.00 TOTAL

                                                                    DIRECT ACCESS LEGAL SERVICES
                                                                    550 W. BASELINE RD., SUITE 102, #200
                                                                    MESA, AZ 85210/480-464-8484
                   Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 24 of 62



          Bryn R. Joimson, Bar No. 007421
          THE McKAY JOHNSON FIRM, PLC
     2    1019 S. Stapley Drive
          Mesa, Arizona 85204
     -J
          Telephone: (480) 833-1667
     4
          Facsimile: (480) 833-2175
          Bryn@AccidentLawAZ.com
     5
          Attorneys for Plaintiffs
 6

 7                     IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                             IN AND FOR THE COUNTY OF COCONINO
 9
          PATRICIA NANCE, as an individual and as )       No. CV2012-00609
10
          the surviving spouse of decedent KEVIN      )
11
          LEE NANCE, and for and on behalf of         )
          all statutorily authorized wrongful death   )
12        claimants including KARLTON NANCE and)
          KALEI NANCE, surviving children of          )   SUMMONS
13        decedent Kevin Lee Nance and KATIE          )
          LEE NANCE, surviving parent of decedent )
14        Kevin Lee Nance,                            )
                                          Plaintiffs, )
15        vs.                                             (Civil, Product Liability,
                                                      )
                                                      )
                                                          Negligence, Breach of Warranty)
16
          TOYOTA MOTOR SALES, USA, INC., )
          a foreign corporation; TOYOTA MOTOR )
17
          CORPORATION; TOYOTA MOTOR )
18        ENGINEERING & MANUFACTURING )
          NORTH AMERICA, INC., TAKATA )
19        CORPORATION. INC.; TAKATA, INC.; )
          TK HOLDINGS; TK HOLDINGS, INC. )
20        TAKATA RESTRAINT SYSTEMS, INC.; )
          TAKATA SEATBELTS, INC.; TOKAI        )
21        RIKA CO., LTD.; SOUTH COAST          )
          TOYOTA; JOHN DOES 1-10; JANE DOES)
22
          1-10; ABC CORPORATIONS 1-10; XYZ )
          COMPANIES 1-10, inclusive,           )
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                                                      )




24
                                     Defendants      )

25        ///
              Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 25 of 62




 I           THE STATE OF ARIZONA TO DEFENDANTS:

                                  TOYOTA MOTOR SALES, U.S.A., INC.
                                       do CT Corporation System
 3                                      2390 E. Camelback Rd.
                                          Phoenix, AZ 85016
 4
             YOU ARE HEREBY SUMMONED and required to appear and defend, within the
 5
     time applicable, in this action in this Court. If served within Arizona, you shall appear and
 6
     defend within 20 days after the service of the Summons and Complaint upon you, exclusive of
 7
     the day of service. If served out of the State of Arizona -- whether by direct service, by
 8
     registered or certified mail, or by publication -- you shall appear and defend within 30 days
 9
     after the service of the Summons and Complaint upon you is complete, exclusive of the day of
10
     service. Where process is served upon the Arizona Director of Insurance as an insurers
11
     attorney to receive service of legal process against it in this State, the insurer shall not be
12
     required to appear, answer or plead until expiration of 40 days after date of such service upon
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     the Director. Service by registered or certified mail without the State of Arizona is complete 30
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     days after the date of filing the receipt and affidavit of service with the Court. Service by
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     publication is complete 30 days after the date of first publication. Direct service is complete
16
     when made. Service upon the Arizona Motor Vehicle Superintendent is complete 30 days after
17
     filing the Affidavit of Compliance and return receipt or Officers Return.        RCP 4; ARS       "   20-
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     222, 28-502 1 28-503.
19
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     within the time applicable, judgment by default may be rendered against you for the relief
21
     demanded in the Complaint.
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24   upon the Plaintiffs attorney. RCP 10(d); ARS’12-311; RCP 5.
25   I/I



                                                         2
            Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 26 of 62



           The name and address and telephone number of Plaintiffs’ attorney is:
 7                        Bryn R. Johnson, Esq.
                          THE McKAY JOHNSON FIRM, PLC
 3                        1019 S. Stapley Dr.
                          Mesa, Arizona 85204
 4                        (480) 833-1667 phone
 5
           Requests for reasonable accommodations for persons with disabilities must be
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 6
     proceeding.
 7
           SIGNED AND SEALED this date: -                       /                     -
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 9                                               CLERK OF THE COURT

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           Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 27 of 62




BRYN R. JOHNSON, PLC
1019 S. Stapley
Mesa, AZ 85204

                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                            IN AND FOR THE COUNTY OF COCONINO

PATRICIA NANCE,
                                                           )        NO. CV2012-00609
                             Plaintiffs,                   )
vs.                                                        )         CERTIFICATE OF SERVICE BY
                                                           )         A PRIVATE PROCESS SERVER
TOYOTA MOTOR SALES USA, ET AL.,                            )
                                                           )
                             Defendants.                   )
         Rick Schattenberg, being fully qualified under ARCP 4(e) to serve process within the State of Arizona and having
been so appointed by Maricopa County Superior Court, did receive the following documents:

                      Summons, First Amended Complaint, Certificate of Arbitration

          In each instance I personally served a true copy of each document listed above on those named below in the manner,
and at the time and place shown below.

       Service was made upon Toyota Motor Engineering & Manufacturing of North America Inc.
C/o CT Corp., by leaving documents with Molly Martinez, who was authorized to accept, at 2390
E Camelback, Phoenix AZ on December 14, 2012, at 12:25p.m.

DATED:
                                                                     RICKIO~CHATTENBER G

         I declare under penalty of perjury that the foregoing is true and correct and was executed on this date.

Charge: $ 55.6521x2.65
          16.00 1 x 16.00
          10.00 doc. prep.
        $81.65 TOTAL

                                                                     DIRECT ACCESS LEGAL SERVICES
                                                                     550 W. BASELINE RD., SUITE 102, #200
                                                                     MESA, AZ 85210/480-464-8484
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 28 of 62




          Bryn R. Johnson, Bar No. 007421
          THE McKAY JOHNSON FIRM, PLC
          1019 S. Stapley Drive
          Mesa, Arizona 85204
     -J
          Telephone: (480) 833-1667
     4
          Facsimile: (480) 833-2175
          Bryn@AccidentLawAZ.com

          Attorneys for Plaintiffs
     6

     7                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     8
                             IN AND FOR THE COUNTY OF COCONINO
  9
          PATRICIA NANCE, as an individual and as )       No. CV2012-00609
 10
          the surviving spouse of decedent KEVIN      )
11
          LEE NANCE, and for and on behalf of         )
          all statutorily authorized wrongful death   )
12        claimants including KARLTON NANCE and)
          KALEI NANCE, surviving children of          )   SUMMONS
13        decedent Kevin Lee Nance and KATIE          )
          LEE NAN CE, surviving parent of decedent )
14        Kevin Lee Nance,                            )
                                          Plaintiffs, )
15        vs.                                         )   (Civil, Product Liability,
                                                      )
                                                          Negligence, Breach of Warranty)
16
          TOYOTA MOTOR SALES, USA, INC., )
          a foreign corporation; TOYOTA MOTOR )
17
          CORPORATION; TOYOTA MOTOR )
18        ENGINEERING & MANUFACTURING )
          NORTH AMERICA, INC.. TAKATA )
19        CORPORATION, INC.; TAKATA, INC.; )
          TK HOLDINGS; TK HOLDINGS, INC. )
20        TAKATA RESTRAINT SYSTEMS, INC.; )
          TAKATA SEATBELTS, INC.; TOKAI       )
21        RIKA CO., LTD.; SOUTH COAST         )
          TOYOTA; JOHN DOES 1-10; JANE DOES)
          1-10; ABC CORPORATIONS 1-10; XYZ )
          COMPANIES 1-10, inclusive,          )
23
                                                     )



24                                   Defendants      ’)

25
             Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 29 of 62




             THE STATE OF ARIZONA TO DEFENDANTS:
 7    TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH AMERICA, INC.
                              do CT Corporation
 3                          2390 E. Camelback Rd.
                              Phoenix, AZ 85016
 4
             YOU ARE HEREBY SUMMONED and required to appear and defend, within the
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     time applicable, in this action in this Court. If served within Arizona, you shall appear and
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     filing the Affidavit of Compliance and return receipt or Officers Return.        RCP 4; ARS "20-
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     222 1 28-502, 28-503.
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24   upon the Plaintiffs attorney. RCP 10(d); ARS’12-311; RCP 5.
25   /1/
            Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 30 of 62




            The name and address and telephone number of Plaintiffs’ attorney is:
 7                         Bryn R. Johnson, Esq.
                           THE McKAY JOHNSON FIRM, PLC
                           1019 S. Stapley Dr.
                           Mesa, Arizona 85204
 4                         (480) 833-1667 phone

            Requests for reasonable accommodations for persons with disabilities must be
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 6
     proceeding.
 7
            SIGNED AND SEALED this date:
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                                                             FPOAH YC’’
 9                                                CLERK OF THE COURT

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                                                  Deputy Clerk
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              Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 31 of 62




 1   Bryn R. Johnson, Bar No. 007421
     THE McKAY JOHNSON FIRM, PLC                                                             L)
 2   1019 S. Stapley Drive
     Mesa, Arizona 85204
 3
     Telephone: (480) 833-1667
 4
     Facsimile: (480) 833-2175
     Bryn@AccidentLawAZ.com
 5
     Attorneys for Plaintiffs
 6

 7                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                      IN AND FOR THE COUNTY OF COCONINO
 9   PATRICIA NANCE, as an individual and as )              No. CV2012-00609
     the surviving spouse of decedent KEVIN      )
10
     LEE NANCE, and for and on behalf of         )
     all statutorily authorized wrongful death   )
11
     claimants including KARLTON NANCE and)
12   KALEI NANCE, surviving children of          )          FIRST AMENDED COMPLAINT
     decedent Kevin Lee Nance and KATIE          )
13   LEE NANCE, surviving parent of decedent )
     Kevin Lee Nance,                            )
14                                   Plaintiffs, )
     vs.                                         )          (Civil, Product Liability,
15                                                          Negligence, Breach of Warranty)
                                                   )


     TOYOTA MOTOR SALES, USA, INC., )
16   a foreign corporation; TOYOTA MOTOR )
     CORPORATION; TOYOTA MOTOR )
17
     EENGINEERING & MANUFACTURING )
18   NORTH AMERICA, INC., TAKATA )                          (Jury Trial Demand)
     CORPORATION, INC.; TAKATA, INC.; )
19   TK HOLDINGS; TK HOLDINGS, INC. )
     TAKATA RESTRAINT SYSTEMS, INC.; )
20   TAKATA SEATBELTS, INC.; TOKAI        )
     RIKA CO., LTD.; SOUTH COAST          )
21   TOYOTA; JOHN DOES 1-10; JANE DOES)
     1-10; ABC CORPORATIONS 1-10; XYZ )
22   COMPANIES 1-10, inclusive, )
                                                  )
23
                                  Defendants       ’)
24
            Plaintiffs, by and through undersigned counsel, and for their cause of action against the
25
     aforementioned Defendants, and each of them, allege as follows:



                                                        1
                   Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 32 of 62




 1            1.       Plaintiff, Patricia Nance, is now and at all times relevant and material hereto was

 2    a resident of Phoenix, Arizona and is the surviving spouse of Kevin Lee Nance, deceased.
 3
              2.       Kariton Nance and Kalei Nance are the surviving children of Kevin Lee Nance,
 4
      deceased.
 5
              3.       Katie Lee Nance is the surviving parent of Kevin Lee Nance, deceased.
 6
              4.       Decedent Kevin Lee Nance was, at the time of his death, a resident of Phoenix,
 7
      Maricopa County, Arizona.
 8
              5.       On or about September 19, 2010, at or near milepost 437.5 on Forest Service

      Hwy 505 in Flagstaff, Coconino County, Arizona Kevin Lee Nance lost his life as a result of a
10

11    single vehicle accident.

12            6.       Defendants have caused events to occur within the State of Arizona and within

13    Coconino County which give rise to this cause of action. Consequently, this Court has

14    territorial jurisdiction and the Coconino County Superior Court is the proper venue under
15
      A.R.S. § 12-401(10).
16
              7.       The amount in controversy in this matter exceeds the minimum jurisdictional
17
      limit of this Court, exclusive of interest and costs, and no other court has exclusive jurisdiction
18
      over the claims alleged herein, giving this court subject matter jurisdiction of this claim under
19
      the Constitution of the State of Arizona, Art. 6, § 14, and under A.R.S. § 12-123.
20
              8.       Plaintiff is informed and believes and thereon alleges that at all times herein
21
      mentioned, Defendants, TOYOTA MOTOR SALES, USA, INC., TOYOTA MOTOR
22
      CORPORATION, TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH
PAR
      AMERICA, INC., TAKATA CORPORATION, TAKATA, INC., TK HOLDINGS; TK
24
      HOLDINGS, INC., TAKATA RESTRAINT SYSTEMS, INC., TAKATA SEATBELTS, INC.,
25
      TOKAI RIKA CO., LTD.; SOUTH COAST TOYOTA; JOHN DOES 1-10, JANE DOES 1-10,
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 I   ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10, inclusive, and each of them, are,

 2   and at all times pertinent hereto were, corporations, partnerships, cooperatives, franchises,
 3
     limited liability companies or other business entities organized and existing under the laws of
 4
     the States of California, Arizona, and/or other states within the United States of America.
 5
             9.       Plaintiff are informed and believe and thereon allege that Defendants, TOYOTA
 6
     MOTOR SALES, USA, INC., TOYOTA MOTOR CORPORATION, TOYOTA MOTOR
 7
     ENGINEERING & MANUFACTURING NORTH AMERICA, INC., TAKATA
 8
     CORPORATION, TAKATA, INC., TK HOLDINGS; TK HOLDINGS, INC., TAKATA
 9

     RESTRAINT SYSTEMS, INC., TAKATA SEATBELTS, INC., TOKAI RIKA CO., LTD.;
10

11   SOUTH COAST TOYOTA, JOHN DOES 1-10, JANE DOES 1-10, ABC CORPORATIONS 1-

12   10 and XYZ COMPANIES 1-10, inclusive, and each of them, are, and at all times pertinent

13   hereto were, domestic corporations, foreign corporations, partnerships, cooperatives,

14   franchises, limited liability companies or other business entities authorized to do business and

15   doing business within Maricopa County and within Coconino County, State of Arizona.
16
              10. Plaintiffs are informed and believe and thereon allege that Defendants JOHN
17
     DOES 1-10, JANE DOES 1-10, ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10 are,
18
     or may be, individuals (or spouses of individuals) who are, or were at all times relevant and
19
     material hereto, authorized to do, and doing business within the State of Arizona and within
20
     Maricopa and Coconino County.
21
             11.      Plaintiffs are informed and believe and thereon allege that Defendants JOHN
22

     DOES 1-10 and/or JANE DOES 1-10 at all times material and relevant to this claim, were
23

24   acting for, on behalf o1 and in furtherance of, the interests of their respective marital

25   communities.




                                                       3
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     1            12. Defendants ABC CORPORATIONS 1-10, XYZ COMPANIES 1-10, JOHN

 2
          DOES 1-10, JANE DOES 1-10 and DOES 11-100 are named herein fictitiously because
 3
          Plaintiffs do not know the true names, identities, marital status or gender of the said Defendants
 4
          and for these reasons, Plaintiffs will request leave of this Court to amend this Complaint
 5
          accordingly at such time when Plaintiffs learn the true names, identities, marital status and
 6
          gender of the said Defendants. The fictitiously named Defendants are liable and responsible for
 7
          their wrongful, negligent and tortious acts or omissions which caused or contributed to Kevin
 8
          Lee Nance’ s death or are otherwise legally responsible for causing Kevin Lee Nance’ s death.
 9

                  13.    At all times herein mentioned, Defendants TOYOTA MOTOR SALES, USA,
10

11        INC., TOYOTA MOTOR CORPORATION, TOYOTA MOTOR ENGINEERING &

12        MANUFACTURING NORTH AMERICA, INC., TAKATA CORPORATION, TAKATA, INC.,

13        TK HOLDINGS; TK HOLDINGS, INC., TAKATA RESTRAINT SYSTEMS, INC., TAKATA

14        SEATBELTS, INC., TOKAI RIKA CO., LTD.; SOUTH COAST TOYOTA; JOHN DOES 1-10,
15
          JANE DOES 1-10, ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10 (unless named
16
          separately, hereinafter collectively referred to as "Defendants") were acting as agents and
17
          employees of each of the other named and unnamed Defendants, and at all times herein
18
          mentioned, were acting within the scope, purpose and authority of that agency and employment
19
          and with the full knowledge, permission and consent of each of the other Defendants.
20
                 14.     Defendants, as alleged above and below, are liable and responsible to Plaintiffs
21

          for the wrongful death of Kevin Lee Nance by their acts or omissions and/or are vicariously
22

23
         liable (through the doctrine of respondeat superior and otherwise) for the wrongful, negligent

24       and tortious acts and/or omissions (and the resulting death) of each other and of the other

25       I Defendants herein



                                                           4
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             15.      On or about September 19, 2010, Decedent Kevin Lee Nance was driving the
 2   subject vehicle on Forest Service Highway 505 in Coconino County, Arizona and was
 3
     approaching the intersection of Forest Service Highway         505 and Forest Service Road 743, the
 4
     said intersection being at or near milepost 437.5. At that time and place, decedent was driving
 5
     the subject vehicle at a safe and reasonably speed and was otherwise driving in a safe and
 6
     reasonable manner when the subject vehicle left the travel portion of the roadway on the right
 7
     side of the road after which it traveled back onto the paved portion of the roadway (moving
 8
     generally from right to left) and, after a short time and through (presumably) the steering input
 9

10
     of decedent, reversed his direction and began traveling from left to right. At some point, the

11   subject vehicle went out of control and rolled several times. Decedent Kevin Lee Nance

12   suffered fatal injuries in the accident.

13           16.     Plaintiffs are informed and believe and thereon allege that at all times herein

14   mentioned, Defendants were the manufacturers, designers, developers, processors, producers,
15
     assemblers, builders, testers, inspectors, installers, equippers, endorsers, exporters, wholesalers,
16
     retailers, renters, sellers, lessors, modifiers, repairers, providers and/or otherwise distributors of
17
     the subject vehicle at the time of the subject accident.
18
             17.     Plaintiffs are informed and believe and thereon allege that the subject vehicle at
19
     the time of the accident was purchased and sold by consumers and by one or more of the
20
     Defendants for use on all roads and highways within the United States of America and within
21
     Maricopa County and Coconino County, State of Arizona.
22

23

24

25




                                                         5
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                                                  COUNT ONE
 2                                    STRICT PRODUCT LIABILITY
 3
             18.      Plaintiffs hereby incorporate by reference paragraphs 1 through 17 as though
 4
     fully set forth herein.
 5
             19.     Plaintiffs are informed and believe and thereon allege that the subject vehicle
 6
     was defective at the time of its manufacture, design, development, production, assembly,
 7
     building, testing, inspection, installation, equipping, endorsement, exportation, importation,
 8
     wholesaling, retailing, selling, renting, leasing, modification, repair and entrustment, and that it
 9

10
     failed to meet the reasonable expectations of safety of the class of persons of which Plaintiffs

11   and Decedent Kevin Lee Nance was a member, and that any benefits derived from the design

12   of said vehicle were substantially outweighed by the risk of harm inherent in said design, in

13   that, and not by way of limitation, despite the availability to Defendants of safer alternative

14   designs, said vehicle presented a substantial and unreasonable risk of death or injury to the
15
     users of said vehicle or those in the vicinity of its use.
16
             20.     Specifically, Plaintiffs are informed and believe and thereon allege that said
17
     vehicle was defective in its design, construction, assembly and manufacture and dangerous to
18
     the life and limb of the users and occupants thereof, in that, among other things and not by way
19
     of limitation, said vehicle was unreasonably unstable, unreasonably prone to rollovers,
20
     unreasonably prone to sudden acceleration, designed with an elevated center of gravity,
21

     designed with inadequate roof and roof support strength and structure, designed with
22

23
     inadequate head room clearance, designed with inadequate safety restraint systems, designed

24   with defective door latch mechanisms, and designed with an inadequate and defective rollover

25   protection system. The afore-mentioned defects created a substantial danger which was




                                                         rol
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 1   unknown to Plaintiffs and Decedent Kevin Lee Nance and unknown to the public in general,

 2   and would not be recognized by the ordinary user, and said Defendants failed to give adequate
 3
     warning of such danger.
 4
             21.     The defects in the design, manufacture, configuration and assembly of the
 5
     subject vehicle was a substantial factor in causing the subject vehicle to go out of control and in
 6
     causing the vehicle to roll over as alleged and described herein.
 7
             22.     As a direct result of the defective nature and condition of said vehicle at the time
 8
     of its manufacture and distribution, and at the time of the accident described and alleged herein,
 9

     Decedent Kevin Lee Nance was killed.
10

11           23.     Prior to the sale and distribution of subject vehicle, Defendants knew that the

12   subject vehicle was in a defective condition, as previously alleged and described herein; said

13   Defendants, through their officers, directors and managing agents, had prior notice and

14   knowledge from several sources, including but not limited to test results and a multiplicity of
15
     tests which were run prior to the date of said accident, internal memoranda and correspondence
16
     and industry publications, as well as notice of thousands of serious injuries caused by the
17
     design of the subject vehicle, that the subject vehicle was defective and presented a substantial
18
     and unreasonable risk of harm to the American motoring public, including Plaintiffs and
19
     Plaintiffs’ Decedent Kevin Lee Nance, in that said defects unreasonably subjected occupants
20
     and drivers to injury or death as a result of foreseeable motor vehicle accidents.
21

            24. Despite such knowledge, Defendants, acting through their officers, directors and
22

23
     managing agents, for the purpose of enhancing their profits, knowingly and deliberately failed

24   to remedy the known defects in subject vehicle and failed to warn the public, including

25   Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance, of the extreme risk of injury or death




                                                       7
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 1   occasioned by said defects. Said Defendants and individuals intentionally proceeded with the

 2   design, the manufacture, sale, distribution and marketing of the subject vehicle, knowing
 3
     persons, including Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance, would be exposed to
 4
     serious potential danger, in order to advance their own pecuniary interest.

             25.     Defendants’ conduct, as set forth in this Complaint (both above and below), was
 6
     despicable and so contemptible that it would be looked down upon and despised by ordinary
 7
     decent people. Further, the said conduct was carried on by Defendants for the purpose of
 8
     serving their own interests even though Defendants had reason to know, and did know, of the
 9

     substantial risk that their conduct might significantly injure others, including Plaintiffs and
10

11   Plaintiffs’ Decedent Kevin Lee Nance. Still further, Defendants willfully and consciously

12   disregarded the safety of Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance; the conduct of

13   Defendants evidences an evil mind; Plaintiffs are entitled to an award of punitive/exemplary

14   damages.
15
             26.     Defendants deliberately and consciously concealed the dangerous defects in the
16
     subject vehicle as herein alleged. Defendants’ concealment included, but was not limited to, the
17
     following:
18
             a. Defendants refused to advise consumers of the defects in the subject vehicle,
19
     including the instability of the vehicle and its lack of occupant protection in the event of an
20
     accident.
21

             b. When lawsuits were brought against them, Defendants required that documents only
22

23
     be produced under protective orders, prohibiting anyone from disclosing the facts and evidence

24   that existed, showing the defects in the subject vehicle.

25




                                                        8
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     1            c. Defendants settled lawsuits under confidentiality orders and thereby prevented
 2
          members of the general public including Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance,
 3
          from learning of the dangerous nature and condition of the said vehicle.
 4
                  27.      Under the doctrine of strict liability, and due to the acts and omissions alleged
 5
          and described herein, Defendants are strictly liable and responsible to Plaintiffs for the full
 6
          extent of their losses and damages sustained and suffered (and which Plaintiffs continue to
 VM
          sustain and suffer) as a result of the wrongful death of Kevin Lee Nance in the subject accident.
 8
                  28.      As a direct and proximate result of the conduct of Defendants as alleged and
 9

10
          described in Count I of this Complaint, Plaintiffs, as the surviving loved ones of decedent

11        Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that

12        will reasonably and fairly compensate each of them for their losses and damages associated

13        with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the

14        following:
15
                  1.      The loss of love, affection, companionship, care, protection and guidance since
16
          the time of the death of Kevin Lee Nance and for these losses into the future;
17
                  2.      As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
18
          Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
19
                  3.      Pain, grief, sorrow, anguish, stress, shock and mental suffering already
20
          experienced and reasonably probable to be experienced in the future;
21
                 4.       For the loss of income and services that have already been incurred as a result of
22 I

23       I the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;
24               5.       For the reasonable expenses of funeral and burial;

25




                                                            9
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 1            6.      For the reasonable expenses of necessary medical care and services for the

 2   injury to Kevin Lee Nance that resulted in his death; and
 3
              7.      For all other general and special losses and damages suffered by Plaintiffs as a
 4
     direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be
 5
     proven at the time of trial and determined by a jury.
 6

 7
             WHEREFORE, as to Count One, Plaintiffs pray judgment against Defendants as
 8
     follows:
 9

              1.      General damages in an amount in excess of the minimum jurisdictional limits of
10

11                    the Superior Court and according to proof,

12           2.       Special damages in an amount in excess of the minimum jurisdictional limits of

13                    the Superior Court and according to proof,

14           3.       Medical expenses, according to proof;
15
             4.       Punitive/exemplary damages;
16
             5.       Prejudgment interest according to proof;
17
             6.       Costs of suit; and,
18
             7.       Such other and further relief as the Court and jury deem just and proper.
19

20
                                                COUNT TWO
21

                                               NEGLIGENCE
22

23
             29.      Plaintiffs hereby incorporate by reference paragraphs 1 through 28 as though

24   fully set forth herein.

25




                                                       10
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 1           30.     At all times herein mentioned, Defendants, and each of them, owed a duty or

 2   duties to Plaintiffs and to Plaintiffs’ Decedent Kevin Lee Nance to exercise reasonable care in
 3
     the manufacture, design, development, assembly, production, testing, inspection, installation,
 4
     warning, equipping, endorsing, exporting and importing, marketing, wholesale, retail, selling,
 5
     leasing, renting, modification, repair and/or entrustment of the subject vehicle; and owed a duty
 6
     or duties to Plaintiffs and to Plaintiffs’ Decedent Kevin Lee Nance not to act unreasonably in
 7
     the manufacture, development, design, processing, producing, building, assembling, testing,
 8
     inspecting, installing, warning, equipping, endorsing, exporting, importing, wholesaling,
 9

     retailing, selling, leasing, renting, modifying, repairing or entrusting the subject vehicle.
10

11           31.     Said Defendants, and each of them, breached the duty or duties owed by

12   Defendants to Plaintiffs and to Plaintiffs Decedent Kevin Lee Nance through their conduct as

13   herein described, including, but not by way of limitation, their failure to exercise reasonable

14   care in the manufacture, design, development, assembly, production, testing, inspection,
15
     installation warning, equipping, endorsing, exporting, importing, marketing, wholesale, retail,
16
     selling, leasing, renting, modification, repair and/or entrustment of the subject vehicle; further,
17
     Defendants acted unreasonably in designing, manufacturing and marketing products which
18
     presented a substantial and unreasonable risk of injury or death to vehicle occupants, including
19
     Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance.
20
             32.     As a direct and proximate result of one or more of the negligent acts or negligent
21

     omissions of Defendants and the said breach or breaches of the duty or duties as described
22

23
     herein, Plaintiffs’ Decedent was killed and Plaintiffs suffered damages.

24           33.     As a direct and proximate result of the conduct of Defendants as alleged and

25   described in Count II of this Complaint, Plaintiffs, as the surviving loved ones of decedent




                                                        11
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     1   Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that

 2       will reasonably and fairly compensate each of them for their losses and damages associated
 3
         with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the
 4
         following:
 5
                    1.       The loss of love, affection, companionship, care, protection and guidance since
 6
         the time of the death of Kevin Lee Nance and for these losses into the future;
 7
                    2.       As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
 8
         Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
 9

                    3.       Pain, grief, sorrow, anguish, stress, shock and mental suffering already
10

11       experienced and reasonably probable to be experienced in the future;

12               4.          For the loss of income and services that have already been incurred as a result of

13       the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;

14               5.          For the reasonable expenses of funeral and burial;
15
                 6.          For the reasonable expenses of necessary medical care and services for the
16
         injury to Kevin Lee Nance that resulted in his death; and
17
                 7.         For all other general and special losses and damages suffered by Plaintiffs as a
18
         direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be
19
         proven at the time of trial and determined by a jury.
20

21

                WHEREFORE, as to Count Two, Plaintiffs pray judgment against Defendants as
22

23
         follows:

24               1. General damages in an amount in excess of the minimum jurisdictional limits of the

25                       Superior Court and according to proof;




                                                              12
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               2. Special damages in an amount in excess of the minimum jurisdictional limits of the
 2                   Superior Court and according to proof;
 3
               3. Medical expenses, according to proof;
 4
               4. Punitive/exemplary damages;
 5
               5. Prejudgment interest according to proof;
 6
               6. Costs of suit; and,
 7
               7. Such other and further relief as the Court and jury deem just and proper.
 8

 9
                                                COUNT THREE
10

11
                                          BREACH OF WARRANTY

12             34       Plaintiffs hereby incorporate by reference paragraphs 1 through 33 as though

13   fully set forth herein.

14             35.      At all times herein mentioned, Defendants designed, developed, processed,

15   repaired, inspected, represented, tested, distributed, sold, consigned, delivered, maintained
16
     and/or operated for purpose of sale and distribution, the subject vehicle for use by the general
17
     public.
18
               36       Plaintiffs are informed and believe and based upon such information and belief
19
     allege that, at the time and place of said sale, delivery, distribution, repair, consignment,
20
     maintenance, or operation of the subject vehicle, Defendants expressly and impliedly warranted
21
     to each buyer and user and to all persons reasonably expected to be in the immediate vicinity of
22

     the subject vehicle during use in any manner, that the subject vehicle was reasonably fit and
23

24
     safe for its intended purpose, and that the subject vehicle was of merchantable quality

25   throughout.




                                                        13
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 1           37.     At the time and place of said sale, delivery, distribution or supply, the subject

 2   vehicle was not reasonably fit and safe for its intended use by buyers, users or persons
 3
     reasonably anticipated to be in the vicinity of the use of the subject vehicle, including
 4
     Plaintiffs’ Decedent Kevin Lee Nance and was therefore not of merchantable quality and
 5
     constituted extreme danger and hazard to persons using or in the vicinity of the subject vehicle.
 6
             38.     As a direct and proximate result of said breaches of warranty, both express and
 7
     implied, Plaintiffs’ Decedent Kevin Lee Nance was killed and Plaintiffs suffered damages and
 8
     losses, both special and general, as herein alleged.
 9

             39.     As a direct and proximate result of the conduct of Defendants as alleged and
10

11   described in Count III of this Complaint, Plaintiffs, as the surviving loved ones of decedent

12   Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that

13   will reasonably and fairly compensate each of them for their losses and damages associated

14   with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the
15
     following:
16
             1.      The loss of love, affection, companionship, care, protection and guidance since
17
     the time of the death of Kevin Lee Nance and for these losses into the future;
18
             2.      As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
19
     Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
20
             3.      Pain, grief, sorrow, anguish, stress, shock and mental suffering already
21
     experienced and reasonably probable to be experienced in the future;
22

23
             4.      For the loss of income and services that have already been incurred as a result of

24   the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;

25           5.      For the reasonable expenses of funeral and burial;




                                                       14
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     1           6.      For the reasonable expenses of necessary medical care and services for the
     2
         injury to Kevin Lee Nance that resulted in his death; and
     3
                 7.      For all other general and special losses and damages suffered by Plaintiffs as a
 4
         direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be
 5
         proven at the time of trial and determined by a jury.
 6
                 WHEREFORE, as to Count Three, Plaintiffs pray judgment against Defendants as
 7
         follows:
 8
                         1.     General damages in an amount in excess of the minimum jurisdictional
 9

10
                                limits of the Superior Court and according to proof;

11                      2.      Special damages in an amount in excess of the minimum jurisdictional

12                              limits of the Superior Court and according to proof;

13                      3.      Medical expenses, according to proof;

14                      4.      Punitive/exemplary damages;
15
                        5.      Prejudgment interest according to proof;
16
                        6.      Costs of suit; and,
17
                        7.      Such other and further relief as the Court and jury deem just and proper.
18

19              DATED this     1         day of December, 2012.

20

21
                                                        THE McKAY JOHNSON FIRM, PLC
22

23

24
                                                        NNEW6.NOWI.-M
                                                        Bryn R. Johnson
                                                                                  @=-~
                                                        1019 S. Stapley Drive
25                                                      Mesa, Arizona 85204
                                                        Attorney for Plaintiffs



                                                          15
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 4
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         Bryn@AccidentLawAZ.com

         Attorneys for Plaintiffs
 6

 7                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8
                            IN AND FOR THE COUNTY OF COCONINO
 9       PATRICIA NANCE, as an individual and as       )
                                                               No.   (-O/
         the surviving spouse of decedent KEVIN        )
10
         LEE NANCE, and for and on behalf of           )


         all statutorily authorized wrongful death
11                                                     )


         claimants including KARLTON NAN CE and)
12       KALEI NANCE, surviving children of            )
                                                               COMPLAINT
         decedent Kevin Lee Nance and KATIE            )



13       LEE NANCE, surviving parent of decedent       )


         Kevin Lee Nance,                              )


14                                       Plaintiffs,   )


         vs.                                           )
                                                               (Civil, Product Liability,
15                                                             Negligence, Breach of Warranty)
                                                       )


         TOYOTA MOTOR SALES, USA, INC.,                )
16
         a foreign corporation; TOYOTA MOTOR           )


         CORPORATION; TAKATA                                   (Jury Trial Demand)
17                                                     )


         CORPORATION, INC.; TAKATA, INC.;              )



18       TK HOLDINGS; TK HOLDINGS, INC.                )


         TAKATA RESTRAINT SYSTEMS, INC.;               )



19       TAKATA SEATBELTS, INC.; TOKAI                 )


         RIKA CO., LTD.; SOUTH COAST                   )


20       TOYOTA; JOHN DOES 1-10; JANE DOES)
         1-10; ABC CORPORATIONS 1-10; XYZ              )

21       COMPANIES 1-10, inclusive,                    )



                                                       )

22
                                      Defendants
23
                Plaintiffs, by and through undersigned counsel, and for their cause of action against the
24
         aforementioned Defendants, and each of them, allege as follows:
25
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                 1.      Plaintiff, Patricia Nance, is now and at all times relevant and material hereto was
     7
         a resident of Phoenix, Arizona and is the surviving spouse of Kevin Lee Nance, deceased.

                 2.      Kariton Nance and Kalei Nance are the surviving children of Kevin Lee Nance.
     4
         deceased.
     5
                 3.      Katie Lee Nance is the surviving parent of Kevin Lee Nance, deceased.
     6
                 4.      Decedent Kevin Lee Nance was, at the time of his death, a resident of Phoenix,
 7
         Maricopa County, Arizona.
     8
                 5.      On or about September 19, 2010, at or near milepost 437.5 on Forest Service
 9

         Hwy 505 in Flagstaff, Coconino County, Arizona Kevin Lee Nance lost his life as a result of a
10

11       single vehicle accident.

12               6.      Defendants have caused events to occur within the State of Arizona and within

13       Coconino County which give rise to this cause of action. Consequently, this Court has

14       territorial jurisdiction and the Coconino County Superior Court is the proper venue under
15
         A.R.S. § 12-401(10).
16
                 7.      The amount in controversy in this matter exceeds the minimum jurisdictional
17
         limit of this Court, exclusive of interest and costs, and no other court has exclusive jurisdiction
18
         over the claims alleged herein, giving this court subject matter jurisdiction of this claim under
19
         the Constitution of the State of Arizona, Art. 6, § 14, and under A.R.S. § 12-123.
20
                8.      Plaintiff is informed and believes and thereon alleges that at all times herein
21
         mentioned, Defendants, TOYOTA MOTOR SALES, USA, INC., TOYOTA MOTOR
22
         CORPORATION, TAKATA CORPORATION, TAKATA, INC., TK HOLDINGS; TK
23
         HOLDINGS, INC., TAKATA RESTRAINT SYSTEMS, INC., TAKATA SEATBELTS, INC.,
24 I
         TOKAI RIKA CO., LTD.; SOUTH COAST TOYOTA; JOHN DOES 1-10, JANE DOES 1-10,
25 I

         ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10, inclusive, and each of them, are,


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         and at all times pertinent hereto were, corporations, partnerships, cooperatives, franchises,

         limited liability companies or other business entities organized and existing under the laws of
     3
         the States of California, Arizona, and/or other states within the United States of America.
     4
                 9.     Plaintiff are informed and believe and thereon allege that Defendants, TOYOTA
     5
         MOTOR SALES, USA, INC., TOYOTA MOTOR CORPORATION, TAKATA
 6
         CORPORATION, TAKATA, INC., TK HOLDINGS; TK HOLDINGS, INC., TAKATA
 7
         RESTRAINT SYSTEMS, INC., TAKATA SEATBELTS, INC., TOKAI RIKA CO., LTD.;
 8
         SOUTH COAST TOYOTA, JOHN DOES 1-10, JANE DOES 1-10, ABC CORPORATIONS 1-
 9

10       10 and XYZ COMPANIES 1-10, inclusive, and each of them, are, and at all times pertinent

11       hereto were, domestic corporations, foreign corporations, partnerships, cooperatives,

12       franchises, limited liability companies or other business entities authorized to do business and

13       doing business within Maricopa County and within Coconino County, State of Arizona.

14               10.    Plaintiffs are informed and believe and thereon allege that Defendants JOHN
15
         DOES 1-10, JANE DOES 1-10, ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10 are,
16
         or may be, individuals (or spouses of individuals) who are, or were at all times relevant and
17
         material hereto, authorized to do, and doing business within the State of Arizona and within
18
         Maricopa and Coconino County.
19
                11.     Plaintiffs are informed and believe and thereon allege that Defendants JOHN
20
         DOES 1-10 and/or JANE DOES 1-10 at all times material and relevant to this claim, were
21

         acting for, on behalf of, and in furtherance of, the interests of their respective marital
22

23
         communities.

24              12.     Defendants ABC CORPORATIONS 1-10, XYZ COMPANIES 1-10, JOHN

25       DOES 1-10, JANE DOES 1-10 and DOES 11-100 are named herein fictitiously because




                                                          3
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     Plaintiffs do not know the true names, identities, marital status or gender of the said Defendants

     and for these reasons, Plaintiffs will request leave of this Court to amend this Complaint
 3
     accordingly at such time when Plaintiffs learn the true names, identities, marital status and
 4
     gender of the said Defendants. The fictitiously named Defendants are liable and responsible for
 5
     their wrongful, negligent and tortious acts or omissions which caused or contributed to Kevin
 6
     Lee Nance’s death or are otherwise legally responsible for causing Kevin Lee Nance’s death.
 7
             13.    At all times herein mentioned, Defendants TOYOTA MOTOR SALES, USA,
 8
     INC., TOYOTA MOTOR CORPORATION, TAKATA CORPORATION, TAKATA, INC., TK
 9

     HOLDINGS; TK HOLDINGS, INC., TAKATA RESTRAINT SYSTEMS, INC., TAKATA
10

11   SEATBELTS, INC., TOKAT RIKA CO., LTD.; SOUTH COAST TOYOTA; .JOHN DOES 1-10,

12   JANE DOES 1-10, ABC CORPORATIONS 1-10 and XYZ COMPANIES 1-10 (unless named

13   separately, hereinafter collectively referred to as "Defendants") were acting as agents and

14   employees of each of the other named and unnamed Defendants, and at all times herein
15
     mentioned, were acting within the scope, purpose and authority of that agency and employment
16
     and with the full knowledge, permission and consent of each of the other Defendants.
17
             14.    Defendants, as alleged above and below, are liable and responsible to Plaintiffs
18
     for the wrongful death of Kevin Lee Nance by their acts or omissions and/or are vicariously
19
     liable (through the doctrine of respondeat superior and otherwise) for the wrongful, negligent
20
     and tortious acts and/or omissions (and the resulting death) of each other and of the other
21
     Defendants herein
22

             15.    On or about September 19, 2010, Decedent Kevin Lee Nance was driving the
23

24   subject vehicle on Forest Service Highway 505 in Coconino County, Arizona and was

25   approaching the intersection of Forest Service Highway 505 and Forest Service Road          743, the




                                                       4
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         said intersection being at or near milepost 437.5. At that time and place, decedent was driving

     2
         the subject vehicle at a safe and reasonably speed and was otherwise driving in a safe and
     3
         reasonable manner when the subject vehicle left the travel portion of the roadway on the right
 4
         side of the road after which it traveled back onto the paved portion of the roadway (moving
     5
         generally from right to left) and, after a short time and through (presumably) the steering input
 6
         of decedent, reversed his direction and began traveling from left to right. At some point, the
 7
         subject vehicle went out of control and rolled several times. Decedent Kevin Lee Nance
 8
         suffered fatal injuries in the accident.
 9

                  16.     Plaintiffs are informed and believe and thereon allege that at all times herein
10

         mentioned, Defendants were the manufacturers, designers, developers, processors, producers,

12       assemblers, builders, testers, inspectors, installers, equippers, endorsers, exporters, wholesalers,

13       retailers, renters, sellers, lessors, modifiers, repairers, providers and/or otherwise distributors of

14       the subject vehicle at the time of the subject accident.
15
                 17.      Plaintiffs are informed and believe and thereon allege that the subject vehicle at
16
         the time of the accident was purchased and sold by consumers and by one or more of the
17
         Defendants for use on all roads and highways within the United States of America and within
18
         Maricopa County and Coconino County, State of Arizona.
19

20
                                                     COUNT ONE
21

                                          STRICT PRODUCT LIABILITY
22 I

23
                 18.     Plaintiffs hereby incorporate by reference paragraphs 1 through           17 as though

24       fully set forth herein.

25 I




                                                            5
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               19.     Plaintiffs are informed and believe and thereon allege that the subject vehicle
 2
      was defective at the time of its manufacture, design, development, production, assembly,
 -J
      building, testing, inspection, installation, equipping, endorsement, exportation, importation,
 4
      wholesaling, retailing, selling, renting, leasing, modification, repair and entrustment, and that it
 5
      failed to meet the reasonable expectations of safety of the class of persons of which Plaintiffs
 6
      and Decedent Kevin Lee Nance was a member, and that any benefits derived from the design
 7
      of said vehicle were substantially outweighed by the risk of harm inherent in said design, in
 8

      that, and not by way of limitation, despite the availability to Defendants of safer alternative
 9

10
      designs, said vehicle presented a substantial and unreasonable risk of death or injury to the

11    users of said vehicle or those in the vicinity of its use.

12            20.      Specifically, Plaintiffs are informed and believe and thereon allege that said

13    vehicle was defective in its design, construction, assembly and manufacture and dangerous to

14    the life and limb of the users and occupants thereof, in that, among other things and not by way
15
      of limitation, said vehicle was unreasonably unstable, unreasonably prone to rollovers,
16
      unreasonably prone to sudden acceleration, designed with an elevated center of gravity,
17
      designed with inadequate roof and roof support strength and structure, designed with
18
      inadequate head room clearance, designed with inadequate safety restraint systems, designed
19
      with defective door latch mechanisms, and designed with an inadequate and defective rollover
20
      protection system. The afore-mentioned defects created a substantial danger which was
21

      unknown to Plaintiffs and Decedent Kevin Lee Nance and unknown to the public in general,
22

23
      and would not be recognized by the ordinary user, and said Defendants failed to give adequate

24    warning of such danger.

25




                                                          6
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             21.     The defects in the design, manufacture, configuration and assembly of the
 2
     subject vehicle was a substantial factor in causing the subject vehicle to go out of control and in
 3
     causing the vehicle to roll over as alleged and described herein.
 4
             22.     As a direct result of the defective nature and condition of said vehicle at the time
 S
     of its manufacture and distribution, and at the time of the accident described and alleged herein,
 6
     Decedent Kevin Lee Nance was killed.
 7
             23.     Prior to the sale and distribution of subject vehicle, Defendants knew that the
 8

     subject vehicle was in a defective condition, as previously alleged and described herein; said
 9

10
     Defendants, through their officers, directors and managing agents, had prior notice and

11   knowledge from several sources, including but not limited to test results and a multiplicity of

12   tests which were run prior to the date of said accident, internal memoranda and correspondence

13   and industry publications, as well as notice of thousands of serious injuries caused by the

14   design of the subject vehicle, that the subject vehicle was defective and presented a substantial
15
     and unreasonable risk of harm to the American motoring public, including Plaintiffs and
16
     Plaintiffs’ Decedent Kevin Lee Nance, in that said defects unreasonably subjected occupants
17
     and drivers to injury or death as a result of foreseeable motor vehicle accidents.
18
             24. Despite such knowledge, Defendants, acting through their officers, directors and
19
     managing agents, for the purpose of enhancing their profits, knowingly and deliberately failed
20
     to remedy the known defects in subject vehicle and failed to warn the public, including
21

     Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance, of the extreme risk of injury or death
22

23
     occasioned by said defects. Said Defendants and individuals intentionally proceeded with the

24   design, the manufacture, sale, distribution and marketing of the subject vehicle, knowing

25




                                                       7
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         persons, including Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance, would be exposed to
     2
          serious potential danger, in order to advance their own pecuniary interest.

                 25.      Defendants conduct, as set forth in this Complaint (both above and below), was
     4
         despicable and so contemptible that it would be looked down upon and despised by ordinary
     5
         decent people. Further, the said conduct was carried on by Defendants for the purpose of
  6
         serving their own interests even though Defendants had reason to know, and did know, of the
  7
         substantial risk that their conduct might significantly injure others, including Plaintiffs and
  8

         Plaintiffs’ Decedent Kevin Lee Nance. Still further, Defendants willfully and consciously
 9

 10
         disregarded the safety of Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance; the conduct of

11       Defendants evidences an evil mind; Plaintiffs are entitled to an award of punitive/exemplary

12       damages.

13               26.     Defendants deliberately and consciously concealed the dangerous defects in the

14       subject vehicle as herein alleged. Defendants concealment included, but was not limited to, the
15
         following:
16
                 a. Defendants refused to advise consumers of the defects in the subject vehicle,
17
         including the instability of the vehicle and its lack of occupant protection in the event of an
18
         accident.
19
                 b. When lawsuits were brought against them, Defendants required that documents only
20
         be produced under protective orders, prohibiting anyone from disclosing the facts and evidence
21

         that existed, showing the defects in the subject vehicle.
22

23               c. Defendants settled lawsuits under confidentiality orders and thereby prevented

24       members of the general public including Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance,

25       from learning of the dangerous nature and condition of the said vehicle.




                                                           8
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                 27.     Under the doctrine of strict liability, and due to the acts and omissions alleged
     2
         and described herein, Defendants are strictly liable and responsible to Plaintiffs for the full
     3
         extent of their losses and damages sustained and suffered (and which Plaintiffs continue to
     4
         sustain and suffer) as a result of the wrongful death of Kevin Lee Nance in the subject accident.
     5
                 28.     As a direct and proximate result of the conduct of Defendants as alleged and
     6
         described in Count I of this Complaint, Plaintiffs, as the surviving loved ones of decedent
     7
         Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that
     8
         will reasonably and fairly compensate each of them for their losses and damages associated
 9

10
         with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the

11       following:

12               1.      The loss of love, affection, companionship, care, protection and guidance since

13       the time of the death of Kevin Lee Nance and for these losses into the future;

14               2.     As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
15
         Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
16
                 3.     Pain, grief, sorrow, anguish, stress, shock and mental suffering already
17
         experienced and reasonably probable to be experienced in the future;
18
                4.      For the loss of income and services that have already been incurred as a result of
19
         the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;
20
                5.      For the reasonable expenses of funeral and burial;
21
                6.      For the reasonable expenses of necessary medical care and services for the
22 I

23       injury to Kevin Lee Nance that resulted in his death; and

24

25 1
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                7.    For all other general and special losses and damages suffered by Plaintiffs as a
 2
     direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be
 3
     proven at the time of trial and determined by a jury.
 4

 5
              WHEREFORE, as to Count One, Plaintiffs pray judgment against Defendants as
 6
     follows:
 7
                      General damages in an amount in excess of the minimum jurisdictional limits of
 8
                      the Superior Court and according to proof;
 9

              2       Special damages in an amount in excess of the minimum jurisdictional limits of
10

11                    the Superior Court and according to proof;

12           3.       Medical expenses, according to proof,

13           4.       Punitive/exemplary damages;

14           5.       Prejudgment interest according to proof;
15
             6.       Costs of suit; and,
16
             7.       Such other and further relief as the Court and jury deem just and proper.
17

18
                                               COUNT TWO
19
                                               NEGLIGENCE
20
             29.      Plaintiffs hereby incorporate by reference paragraphs 1 through 28 as though
21

72
     fully set forth herein.

23
             30.     At all times herein mentioned, Defendants, and each of them, owed a duty or

24   duties to Plaintiffs and to Plaintiffs’ Decedent Kevin Lee Nance to exercise reasonable care in

25   the manufacture, design, development, assembly, production, testing, inspection, installation,




                                                       ff
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      warning, equipping, endorsing, exporting and importing, marketing, wholesale, retail, selling,

      leasing, renting, modification, repair and/or entrustment of the subject vehicle; and owed a duty
 -J
      or duties to Plaintiffs and to Plaintiffs’ Decedent Kevin Lee Nance not to act unreasonably in
 4
      the manufacture, development, design, processing, producing, building, assembling, testing,

      inspecting, installing, warning, equipping, endorsing, exporting, importing, wholesaling.
 6
      retailing, selling, leasing, renting, modifying, repairing or entrusting the subject vehicle.
 7
              31.     Said Defendants, and each of them, breached the duty or duties owed by
 8
      Defendants to Plaintiffs and to Plaintiffs Decedent Kevin Lee Nance through their conduct as
 9

      herein described, including, but not by way of limitation, their failure to exercise reasonable
10

11    care in the manufacture, design, development, assembly, production, testing, inspection,

12    installation warning, equipping, endorsing, exporting, importing, marketing, wholesale, retail,

13    selling, leasing, renting, modification, repair and/or entrustment of the subject vehicle; further,

14    Defendants acted unreasonably in designing, manufacturing and marketing products which
15
      presented a substantial and unreasonable risk of injury or death to vehicle occupants, including
16
      Plaintiffs and Plaintiffs’ Decedent Kevin Lee Nance.
17
              32.     As a direct and proximate result of one or more of the negligent acts or negligent
18
      omissions of Defendants and the said breach or breaches of the duty or duties as described
19
      herein, Plaintiffs’ Decedent was killed and Plaintiffs suffered damages.
20
              33.     As a direct and proximate result of the conduct of Defendants as alleged and
21
      described in Count II of this Complaint, Plaintiffs, as the surviving loved ones of decedent
22

      Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that
23

24    will reasonably and fairly compensate each of them for their losses and damages associated

25




                                                         II
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     with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the

 2   following:
 3
             1.      The loss of love, affection, companionship, care, protection and guidance since
 4
     the time of the death of Kevin Lee Nance and for these losses into the future;
 5
            2.       As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
 6
     Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
 7
             3.      Pain, grief, sorrow, anguish, stress, shock and mental suffering already
 8
     experienced and reasonably probable to be experienced in the future;
 9
            4.       For the loss of income and services that have already been incurred as a result of
10

11   the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;

12           5.      For the reasonable expenses of funeral and burial;

13           6.      For the reasonable expenses of necessary medical care and services for the

14   injury to Kevin Lee Nance that resulted in his death; and

15           7.      For all other general and special losses and damages suffered by Plaintiffs as a
16
     direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be
17
     proven at the time of trial and determined by a jury.
18

19
            WHEREFORE, as to Count Two, Plaintiffs pray judgment against Defendants as
20
     follows:
21
             1. General damages in an amount in excess of the minimum jurisdictional limits of the
22

                  Superior Court and according to proof,
23

24          2. Special damages in an amount in excess of the minimum jurisdictional limits of the

25                Superior Court and according to proof;




                                                       12
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               3. Medical expenses, according to proof;

 2             4. Punitive/exemplary damages;
 3
               5. Prejudgment interest according to proof;
 4
               6. Costs of suit; and,
 5
               7. Such other and further relief as the Court and jury deem just and proper.
 6

 7
                                               COUNT THREE
 8
                                         BREACH OF WARRANTY
 9
               34     Plaintiffs hereby incorporate by reference paragraphs 1 through 33 as though
10

     fully set forth herein.
11

12             35.    At all times herein mentioned, Defendants designed, developed, processed,

13   repaired, inspected, represented, tested, distributed, sold, consigned, delivered, maintained

14   and/or operated for purpose of sale and distribution, the subject vehicle for use by the general

15   public.

16             36     Plaintiffs are informed and believe and based upon such information and belief
17
     allege that, at the time and place of said sale, delivery, distribution, repair, consignment,
18
     maintenance, or operation of the subject vehicle, Defendants expressly and impliedly warranted
19
     to each buyer and user and to all persons reasonably expected to be in the immediate vicinity of
20
     the subject vehicle during use in any manner, that the subject vehicle was reasonably fit and
21
     safe for its intended purpose, and that the subject vehicle was of merchantable quality
22
     throughout.
23

               37.    At the time and place of said sale, delivery, distribution or supply, the subject
24

25   vehicle was not reasonably fit and safe for its intended use by buyers, users or persons

     reasonably anticipated to be in the vicinity of the use of the subject vehicle, including


                                                       13
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     Plaintiffs’ Decedent Kevin Lee Nance and was therefore not of merchantable quality and

 2   constituted extreme danger and hazard to persons using or in the vicinity of the subject vehicle.
 3
             38.     As a direct and proximate result of said breaches of warranty, both express and
 4
     implied, Plaintiffs’ Decedent Kevin Lee Nance was killed and Plaintiffs suffered damages and
 5
     losses, both special and general, as herein alleged.
 6
             39.     As a direct and proximate result of the conduct of Defendants as alleged and
 7
     described in Count III of this Complaint, Plaintiffs, as the surviving loved ones of decedent
 8
     Kevin Lee Nance, suffered damages and are entitled to receive the full amount of money that
 9

     will reasonably and fairly compensate each of them for their losses and damages associated
10

11   with the death of their loved one, decedent Kevin Lee Nance, including, but not limited to, the

12   following:

13           1.      The loss of love, affection, companionship, care, protection and guidance since

14   the time of the death of Kevin Lee Nance and for these losses into the future;

15                   As to Plaintiff Patricia Nance, the loss of the marital relationship with of Kevin
             2.
16
     Lee Nance since the time of the death of Kevin Lee Nance and for this loss into the future;
17
             3.      Pain, grief, sorrow, anguish, stress, shock and mental suffering already
18
     experienced and reasonably probable to be experienced in the future;
19
             4.      For the loss of income and services that have already been incurred as a result of
20
     the death of Kevin Lee Nance and that are reasonable probable to be lost in the future;
21
             5.      For the reasonable expenses of funeral and burial;
22

             6.      For the reasonable expenses of necessary medical care and services for the
23

24   injury to Kevin Lee Nance that resulted in his death; and

25




                                                       14
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             7.      For all other general and special losses and damages suffered by Plaintiffs as a

 2   direct and proximate result of the death of decedent Kevin Lee Nance in an amount to be

     proven at the time of trial and determined by a jury.
 4
             WHEREFORE, as to Count Three, Plaintiffs pray judgment against Defendants as
 5
     follows:
 6
                     1.      General damages in an amount in excess of the minimum jurisdictional
 7
                             limits of the Superior Court and according to proof;
 8
                     2.      Special damages in an amount in excess of the minimum jurisdictional
 9

                             limits of the Superior Court and according to proof,
10

11                   3.      Medical expenses, according to proof,

12                   4.      Punitive/exemplary damages;

13                   5.      Prejudgment interest according to proof;

14                   6.      Costs of suit; and,

15                           Such other and further relief as the Court and jury deem just and proper.
                     7.
16

17
             DATED this 1 11h day of September, 2012.

18

19                                                   THE McKAY JOHNSON FIRM, PLC

20

21
                                                     Bryn R. Johnson
22
                                                     1019 S. Stapley Drive
                                                     Mesa, Arizona 85204
23
                                                     Attorney for Plaintiffs
24

25




                                                       15
                  Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 61 of 62



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         BrynAccidentLawAZ. corn
     5
         Attorneys for Plaintiffs
     6
                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
     7
                            IN AND FOR THE COUNTY OF COCONINO
     8
         PATRICIA NANCE, as an individual and as )                No.
  9      the surviving spouse of decedent KEVIN                          i 2C2
                                                     )
         LEE NANCE, and for and on behalf of         )
 10
         all statutorily authorized wrongful death   )
 11
         claimants including KARLTON NANCE and)
         KALEI NANCE, surviving children of          )            CERTIFICATE OF COMPULSORY
12       decedent Kevin Lee Nance and KATIE          )            ARBITRATION
         LEE NAN CE, surviving parent of decedent )
 13      Kevin Lee Nance,                            )
                                         Plaintiffs, )
14       vs.                                         )            (Civil, Product Liability,
                                                         )        Negligence, Breach of Warranty)
15       TOYOTA MOTOR SALES, USA, INC., )
         a foreign corporation; TOYOTA MOTOR )
16
         CORPORATION; TAKATA )
         CORPORATION, INC.; TAKATA, INC.; )
17
         TK HOLDINGS; TK HOLDINGS, INC. )
18       TAKATA RESTRAINT SYSTEMS, INC.; )
         TAKATA SEATBELTS, INC.; TOKAI       )
19       RIKA CO., LTD.; SOUTH COAST         )
         TOYOTA; JOHN DOES 1-10; JANE DOES)
20       1-10; ABC CORPORATIONS 1-10; XYZ )
         COMPANIES 1-10, inclusive, )
21
                                                        )


                                       Defendants
77



23
                The undersigned, for and in behalf of Plaintiffs, certifies that he knows the dollar limits

         and any other limitations set forth by the Local Rules of Practice for the Coconino County
24

         Superior Court and further certifies that this case is   not subject to compulsory arbitration, as
25

         provided by Rules 72 through 76 of the Arizona Rules of Civil Procedure.
         Case 3:13-cv-08011-FJM Document 1-1 Filed 01/14/13 Page 62 of 62




         DATED this 11’ 1’ day of September, 2012.
     2

                                             THE McKAY JOHNSON FIRM, PLC

     4

     5
                                             Bryn R. Johnson
     6                                       1019 S. Stapley Drive
                                             Mesa, Arizona 85204
     7                                       Attorney for Plaintiffs

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